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                                                          Exhibit A to the Complaint
Location: Havertown, PA                                                                             IP Address: 100.11.13.233
Total Works Infringed: 28                                                                           ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            06-02-     Blacked        04-19-2021    04-27-2021   PA0002288984
           1131137E07C4026A3A78DCFED97242444284D2DE                              2021       Raw
           File Hash:                                                            22:09:25
           462B7D5D68F0B444C8B9207058FA80D435FF6BB40F42A5037402819D7E4846B3
 2         Info Hash:                                                            06-02-     Blacked        05-03-2021    06-15-2021   PA0002296918
           65A8F206141EB10A442866B90EFD0141195DDA20                              2021       Raw
           File Hash:                                                            22:06:29
           3E9306A2DFC01C98D1F65460B38B737A728608CAFE5906A8C2983B26FE3CF077
 3         Info Hash:                                                            06-02-     Blacked        05-10-2021    06-15-2021   PA0002296920
           A1E1A3C583B67DD01750FA4D4D932F440E49B6EF                              2021       Raw
           File Hash:                                                            22:04:34
           B6127B3C4433AB85FA51CB927297EE381F1B7FB19170BF1665D9B9A044551C5D
 4         Info Hash:                                                            05-16-     Blacked        04-26-2021    06-09-2021   PA0002295596
           B103DC0A7CBB5DA036563274CA5BA61E65EF822F                              2021       Raw
           File Hash:                                                            03:22:11
           382280A5D367505B880A44810F2F6EDF4CE0BEB72B7FD8C0D59EE24938429AB6
 5         Info Hash:                                                            05-16-     Blacked        04-24-2021    04-27-2021   PA0002288981
           A20E3EE0978ECEE915C378D7117B7F48898E3729                              2021
           File Hash:                                                            03:20:53
           862BEBF2B44FB2C6532993ADF797E366FEE37CA3299F1ACBBC5EBF5A71C74E9C
 6         Info Hash:                                                            05-16-     Blacked        04-12-2021    04-27-2021   PA0002288983
           D82FDB876FA61FBF5779B56DE254C06867BD82D4                              2021       Raw
           File Hash:                                                            03:19:57
           F5D43B4293E841C1705701B929D6246EC86EAF539F9CA169B5037A89C1ED85E4
 7         Info Hash:                                                            02-28-     Tushy          02-21-2021    03-08-2021   PA0002280370
           F63BBFC680C5A1422FE794C3870264F2321A53D8                              2021
           File Hash:                                                            13:53:45
           79FABDC1A95C1FCF2B38F8A95D211B0E6D2BA8280536667E7DE46CA5DBC7F770
 8         Info Hash:                                                            01-16-     Blacked        11-07-2020    11-24-2020   PA0002265966
           D36F51AF58B1257DB20537BE0F8C83CD5B2656FF                              2021
           File Hash:                                                            18:03:45
           E5C3FF6DDB02CD5910543747455B9E1AA258A27B6DDD5C286B81087C919C35B9
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         01-01-     Blacked   10-17-2020   11-05-2020   PA0002263387
       9DFB2B28348D2D9F5CEE9E2B3D6B412C0A037F67                           2021
       File Hash:                                                         17:24:37
       83CA17C0119571E11B4A3870A466DF2DF140E9DF6908DF2875BB600BF158DA60
10     Info Hash:                                                         01-01-     Blacked   12-19-2020   01-05-2021   PA0002269959
       7BED574AFA312F6831A1CDD406A5F1291515C568                           2021
       File Hash:                                                         17:15:53
       0CDFAC8816AB3B68D45C3743A4C6F8B6BE16DEFDBCD039E1304DC79687B73B93
11     Info Hash:                                                         01-01-     Blacked   12-12-2020   01-04-2021   PA0002277035
       34E4DA6E5D1F0861B3294B6E641601FCDB2271B9                           2021
       File Hash:                                                         17:14:00
       C4F26B7087B8C215108FF4593137C894F403D2940B13FE7A97453FAB61C34E23
12     Info Hash:                                                         12-11-     Tushy     12-06-2020   12-28-2020   PA0002269080
       8EE76A64B8F78296D8BA6D3C77273B99EC1B5081                           2020
       File Hash:                                                         00:58:14
       80798E7C3C20BA507A00B6BF10247DB476510EFD3FA7C31B1D420B617065C577
13     Info Hash:                                                         12-11-     Blacked   12-05-2020   01-04-2021   PA0002277031
       7277A59EE15D6BCBDE93A948B151E12CD1E6DE32                           2020
       File Hash:                                                         00:56:07
       BEBFB9DC67D4A982AAD15C7CF1299B4F25FC867AC361CB0D1CF1BD5AE35C17DF
14     Info Hash:                                                         12-11-     Blacked   12-07-2020   12-28-2020   PA0002269082
       957F8326029DE1CDC0FBEFE8DFFF74ED3D9A5608                           2020       Raw
       File Hash:                                                         00:55:01
       DFB38683B126E2B174C9E84454E19727BAACB4FBD834B8F33BB930EEC44D0706
15     Info Hash:                                                         12-11-     Blacked   08-31-2020   09-05-2020   PA0002255473
       1D2F6A96FCA0768229D3EA273E344D56AC0BB731                           2020       Raw
       File Hash:                                                         00:54:40
       C3066DC940D2CE6351DAEA891B40F962251B482354FCA3A5F20AE3F5B9F94773
16     Info Hash:                                                         12-11-     Blacked   09-21-2020   09-29-2020   PA0002258687
       276936219415D29826F0AD8266C3D9835AC46263                           2020       Raw
       File Hash:                                                         00:54:40
       DF6521B38E09F8D987DF73CEF0CC8101B607A6EF1A8A659CBF85C6A40A3607B5
17     Info Hash:                                                         07-19-     Blacked   07-18-2020   08-11-2020   PA0002252258
       BD6060ADF5D506AEDCACA1206C61BE68A531D586                           2020
       File Hash:                                                         17:14:52
       9F30B4304A2C6A1ED2825CBA9290B07F573E233F309FFA499F963692B013F452
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         06-30-     Blacked   06-27-2020   07-17-2020   PA0002248593
       9A02A2CCF0111C7FDD71DC48E5C0E571C9738BFE                           2020
       File Hash:                                                         11:51:30
       83BEB29FBAF38E521324E5DC2537924624EC9C8C7ADE7A01813F6264BFBD51BC
19     Info Hash:                                                         06-30-     Blacked   06-01-2020   06-25-2020   PA0002255508
       2B524B6F6E4161A83F548199A67119ECC8EFCF67                           2020       Raw
       File Hash:                                                         11:38:33
       97EB70F552093092567A108F4051DEAC4E1695D5755720EC521496BD086F3205
20     Info Hash:                                                         06-30-     Blacked   06-15-2020   07-17-2020   PA0002248596
       DE59C5100B1D202279BE00C0B4A7D1F924FF279F                           2020       Raw
       File Hash:                                                         11:32:04
       36E448F6C97F91973F67AADA03FDA7D48824A4996A7D91BE1C1D8E0684354549
21     Info Hash:                                                         06-13-     Vixen     06-12-2020   06-25-2020   PA0002256359
       208BB6D56560EDAF3A5C7848334674A1AD9AA863                           2020
       File Hash:                                                         02:39:26
       709F917B6AB0830D516BC53D398199094C91660CA114C938B8D06B6027F7967D
22     Info Hash:                                                         03-12-     Blacked   03-12-2020   04-17-2020   PA0002246106
       257415A30658282F03E3611F79BE13DD41CCECDB                           2020       Raw
       File Hash:                                                         22:42:53
       1E3F16BABF44C3D877F5F71615A2810D183D3C885C6EFD308D4D620D14B603ED
23     Info Hash:                                                         12-21-     Vixen     12-20-2019   02-03-2020   PA0002225564
       75B7A9E8BB57C0DED8FB1DCEF38262201FC77BAF                           2019
       File Hash:                                                         00:32:17
       E87665078C528E45A21C3829655A181D79A3FC75EBB016128A1AD0802A521642
24     Info Hash:                                                         11-29-     Tushy     11-27-2019   01-03-2020   PA0002233434
       E4062D74C022DAA04364C4E941D9DF3E0060AEA3                           2019
       File Hash:                                                         00:43:43
       6479A9E1F85726E412945BA18A76C4C25132C82B2F81EB74ED6F588E3D19BFFD
25     Info Hash:                                                         11-29-     Vixen     11-25-2019   12-09-2019   PA0002216264
       F60F53E922BA2B9C79356C23641CB3958C3BE055                           2019
       File Hash:                                                         00:32:04
       DCDA02872B398067F5382B246A09069EB5AD7EC3868FEF36A744D428A747C6C8
26     Info Hash:                                                         11-29-     Blacked   11-18-2019   12-09-2019   PA0002216261
       0E88A66CCAB0C708774C78CAEFEBEC4EEDBEACCF                           2019       Raw
       File Hash:                                                         00:04:49
       607A12C013F9B75E0B48C01A9B1D64908F15FDDEAE6F90A85FEAC18574F98C88
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         11-28-     Blacked   11-13-2019   11-27-2019   PA0002213997
       CB3E0990402330F8BB53F646F8F4442823D49B2D                           2019       Raw
       File Hash:                                                         23:45:45
       47DBB7C708EA487E8F95EB89FBDC0596204EADDC029D9BCD1FD57B8E9FF2552E
28     Info Hash:                                                         06-15-     Blacked   06-14-2019   07-17-2019   PA0002188312
       7A400A4D1F90EA5693A368BF3EC2DACC98DE61A5                           2019
       File Hash:                                                         02:29:16
       0518F06E1E28E644168D11710DA5F5A3F43B5A1D9BE7FFC37581045344452337
